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      EXHIBIT F
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        From:                          Bode, Stephen J [stephen.bode@bankofamerica.com]
        Sent                           Tuesday, October 27, 200912:25 PM
        To:                            Hellmann, Debra
        Subject                        FW: October Cross LOB Referrals - Please Respond

        Not sure ii we get credit for these. I am requiring Maritz to bring in its $45MM in investments and we are opening
        a control account wilh Mo Schutte.

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        From: Knopf, Kevin
        Sent: Tuesday, October 27, 2009 11:24 AM
        To: Goessling, Janet
        Cc: Bode, Stephen J
        Subject: RE: October Cross LOB Referrals - Please Respond

        Merrill Lynch or BIA - S40MM investment account-AEIS/Maritz inc


        Kevin M. Knopf
        Senior Vice President
        Bank of America 14i:rrill Lynch
        Banc of America Securities, LLC
        800 :Market Street
        St Louis, MO 6310 I

        Ph: 314-466-7726
        Fax: 314-466-6499
        kcvin.knoolYdJ.bnnkofametica com


       From: Goessling, Janet
       Sent: Monday, October 26, 2009 11: 59 AM
       To: Bugyis, Christian; Chapman, Paul B; Dierkes, Margaret C; Greene, Rich; Knopf, Kevin; Stapleton, Mark
       Subject: October Cross LOB Referrals - Please Respond
        Importance: High
        Please let me know if you have made a referral to one of these lines of business in the month of October (a
        referral counts when an associate says they made a refenal to another LOB - In other words, no business has to
        book.) I just need to know the number of referrals - no details needed.

       Business Banking
       U.S. Trust
       Commercial Banking
       Wealth Management (formerly PB&!)
       CRE
       Consumer
       Commercial RE
       Community Development
       Government
       Merrill Lynch


       Thank you,
       Janet
